Case 4:22-cr-40086-KES   Document 46     Filed 09/11/23   Page 1 of 2 PageID #: 102




                       UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                             SOUTHERN DIVISION



 UNITED STATES OF AMERICA,                         4:22-CR-40086-KES

          Plaintiff,
                                                ORDER ADOPTING
    vs.                                  REPORT & RECOMMENDATION AND
                                         SENTENCING SCHEDULING ORDER
 JOSE URIBE,

          Defendant.


      On September 11, 2023, defendant, Jose Uribe appeared before

Magistrate Judge Veronica Duffy for a change of plea hearing. Magistrate Judge

Duffy issued a report recommending the court accept defendant’s plea of guilty

to Counts 1 and 2 of the Amended Superseding Information. 1 Count 1 of the

Amended Superseding Information charges Uribe with Conspiracy to Commit

Carjacking, in violation of 18 U.S.C. §§ 371 and 2119, and Count 2 of the

Amended Superseding Information charges Uribe with Use and Brandishing of

a Firearm During the Commission of a Crime of Violence, in violation of 18


1 The plea agreement initially states Uribe is pleading guilty to Counts 1 and 2

of his Superseding Information. Docket 35 ¶ C. The Government filed an
Amended Superseding Information. Docket 40. At the change of plea hearing,
Magistrate Judge Duffy clarified that Uribe will be pleading guilty to Counts 1
and 2 in the Amended Superseding Information. The difference between the
Superseding Information and the Amended Superseding Information rests in
Count 2. Count 2 of the Amended Superseding Information removes the
reference to “conspiracy” and instead clarifies that it charges that Uribe
brandished a firearm during and in relation to a crime of violence for which he
could be prosecuted in a court of the United States, namely, Carjacking.
Case 4:22-cr-40086-KES    Document 46    Filed 09/11/23   Page 2 of 2 PageID #: 103




U.S.C. §§ 924(c)(1)(A)(ii). The parties waived any objection to the report and

recommendation. The parties agreed that, upon imposition of the sentence, the

Government would dismiss the remaining count in the Indictment as it

pertains to the defendant. Docket 35 ¶ C. Upon review of the record in this

case, it is

       ORDERED that the report and recommendation (Docket 45) is adopted.

The defendant is adjudged guilty of Conspiracy to Commit Carjacking, in

violation of 18 U.S.C. §§ 371 and 2119, and Use and Brandishing of a Firearm

During the Commission of a Crime of Violence, in violation of 18 U.S.C. §§

924(c)(1)(A)(ii).

       It is FURTHER ORDERED that the sentencing hearing in this matter will

be held on November 27, 2023 at 11:00 a.m. in Sioux Falls Courtroom 2.

       Dated September 11, 2023.

                               BY THE COURT:

                               /s/ Karen E. Schreier
                               KAREN E. SCHREIER
                               UNITED STATES DISTRICT JUDGE




                                        2
